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                         UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                Alexandria Division

DENISE BAKER,
For herself and on behalf of all
similarly situated individuals,

       Plaintiff,

v.                                                  Case No.: 1: 17-cv-1160 (LMB/JFA)

NAVIENT SOLUTIONS, LLC

       Defendant.

           NOTICE OF HEARING ON PLAINTIFF’S CONSENT MOTION
       FOR PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT,
     CONDITIONALLY CERTIFYING CLASS FOR PURPOSES OF SETTLEMENT,
          APPOINTING CLASS COUNSEL, DIRECTING NOTICE TO THE
            CLASS, AND SCHEDULING FINAL FAIRNESS HEARING

       PLEASE TAKE NOTICE that on Friday, June 29, 2018, at 10:00 a.m., or as soon

thereafter as counsel may be heard, Plaintiff DENISE BAKER, by undersigned counsel, will

present oral argument on her Consent Motion for Preliminary Approval of Class Action

Settlement, Conditionally Certifying Class for Purposes of Settlement, Appointing Class

Counsel, Directing Notice to the Class, and Scheduling Final Fairness Hearing (Dkt, # 61).

       The undersigned counsel has conferred with counsel for Defendant Navient Solutions,

LLC who has concurred with setting the hearing for June 29, 2018.

Date: June 20, 2018                                 Respectfully submitted,

                                                    DENISE BAKER

                                            By:      /s/ William L. Downing
                                                    William L. Downing
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 William L. Downing, VSB 17704                       Henry A. Turner (appearing pro hac vice )
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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of June, 2018, I electronically filed the foregoing with

the Clerk of Court using the CM/ECF system, which will then send a notification of such filing

(NEF) to the following counsel of record:

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       Counsel for Defendant Navient Solutions, LLC

                                                        /s/ William L. Downing
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